   Case 19-50012   Doc 230 Filed 09/12/19 EOD 09/12/19 15:33:47   Pg 1 of 2
                     SO ORDERED: September 12, 2019.




                     ______________________________
                     Robyn L. Moberly
                     United States Bankruptcy Judge




                   UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION


IN RE:                              )
                                    )
USA GYMNASTICS                      )    CASE NO. 18-9108-RLM-11
                                    )
      Debtor                        )
____________________________________)
                                    )
USA GYMNASTICS                      )
                                    )
      Plaintiff                     )
                                    )
v.                                  )
                                    )
ACE AMERICAN INSURANCE              )    Adv. Proc. 19-50012
COMPANY, f/k/a CIGNA                )
INSURANCE COMPANY, GREAT            )
AMERICAN ASSURANCE                  )
COMPANY, LIBERTY INSURANCE )
UNDERWRITERS, INC., et al           )
                                    )
      Defendants                    )
____________________________________)

    ORDER GRANTING EMERGENCY MOTION TO CONTINUE HEARING
               FILED BY TIG INSURANCE COMPANY
   Case 19-50012    Doc 230   Filed 09/12/19       EOD 09/12/19 15:33:47   Pg 2 of 2



      Defendant TIG Insurance Company (“TIG”) has moved to continue the
hearing on Plaintiff, USA Gymnastics’ (“USAG”) motion for partial summary
judgment (docket #173) currently scheduled for September 17, 2019. The court,
having reviewed TIG’s emergency motion and USAG’s objection, finds that the date
as currently set is premature.

       Accordingly, the Court grants TIG’s emergency motion, but will not wait until
a ruling from the district court on the motion to withdraw the reference to
reschedule the hearing. Therefore, a continued hearing on USAG’s motion for
partial summary judgment (#173) and a hearing on TIG’s cross motion for summary
judgment (docket #214), and all briefs, memoranda, responses and replies related to
those motions shall be held before Chief Judge Robyn L. Moberly on October 30,
2019 at 1:30 p.m. in Courtroom #329, Birch Bayh Federal Building and U.S
Courthouse, 46 East Ohio Street, Indianapolis, IN.

                                     #   #     #
